USCA Case #23-1174               Document #2068432            Filed: 08/06/2024       Page 1 of 1


                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 23-1174                                                     September Term, 2023
                                                                          FERC-CP16-454-003
                                                                          FERC-CP16-455-000
                                                                          FERC-CP16-455-002
                                                                          FERC-CP16-454-000
                                                                          FERC-CP20-481-000
                                                       Filed On: August 6, 2024 [2068432]
City of Port Isabel, et al.,

                   Petitioners

         v.

Federal Energy Regulatory Commission,

                   Respondent

------------------------------

Rio Bravo Pipeline Company, LLC and Rio
Grande LNG, LLC,
                   Intervenors
------------------------------

Consolidated with 23-1221

                                             ORDER

         It is ORDERED, on the court's own motion, that the Clerk withhold issuance of
the mandate herein until seven days after disposition of any timely petition for rehearing
or petition for rehearing en banc. See Fed. R. App. P. 41(b); D.C. Cir. Rule 41. This
instruction to the Clerk is without prejudice to the right of any party to move for
expedited issuance of the mandate for good cause shown.

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk
